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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS


GREGORY GODFREY, et. al.,
                                          Case Number 18-cv-07918
                  Plaintiffs,
                                          Judge Matthew F. Kennelly
v.
                                          Magistrate Judge Michael T. Mason
GREATBANC TRUST COMPANY, et al.,
                                          [Oral Argument Requested]
                  Defendants.


     MEMORANDUM OF LAW IN SUPPORT OF McBRIDE DEFENDANTS’
     PARTIAL MOTION TO DISMISS SECOND AMENDED COMPLAINT
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                                   I.      INTRODUCTION

       Plaintiffs’ Second Amended Complaint (“SAC,” Dkt. No. 105-1) serves no purpose other

than to seek a second bite at the apple on claims this Court already found legally deficient. The

Court properly held that reorganizing corporate structures and paying compensation are not

fiduciary acts. See 9/26/19 Order (Dkt. No. 74) (“9/26/19 Order”) (dismissing the McBride

Defendants from all claims arising out of the so-called “siphoning of value”—a combination of

the corporate restructuring and compensation decisions). Plaintiffs have now restated their

complaint to include more factual detail about the corporate reorganization and compensation.

Even additional factual allegations, however, cannot remedy the fundamental legal problem with

these claims: they simply do not fall within ERISA’s fiduciary duties. The Court should

therefore dismiss the reorganization and compensation claims like it did the last time.

       Beyond that, Plaintiffs have added numerous factual allegations to claims this Court

already upheld, a needless exercise that serves only to burden the Defendants. The McBride

Defendants nonetheless will not waste judicial and party resources by rearguing points on which

the Court has previously ruled against them. For the Court’s convenience, the accompanying

Motion includes a chart setting forth the McBride Defendants’ response to each of the claims.

Although the SAC repackages the Amended Complaint’s claims into different counts, the

substance remains the same. The SAC alleges that defendants breached fiduciary duties imposed

by section 404(a)(1) of ERISA, 29 U.S.C. § 1104(a)(1), and engaged in transactions prohibited

by section 406, 29 U.S.C. § 1106, principally by facilitating or engaging in two transactions

which allegedly affected the McBride & Son Employee Stock Ownership Plan (the “Plan”).

First, in Counts I-VI, Plaintiffs complain about the 2013 corporate reorganization (the “2013

reorganization”). Second, Counts VII-X challenge the alleged consequence of this



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reorganization—the payment of excessive compensation (the so-called “loss of value”). Third,

Plaintiffs challenge a 2017 redemption of shares held by the Plan (the “2017 transaction”) in

Counts XI-XVI. Each of these three subsets of claims contains a “knowing participation” count.

At the end of the SAC, Plaintiffs also allege a failure of the duty to monitor the Plan’s trustee,

GreatBanc Trust Company (“GreatBanc”) (Count XVII).

        Plaintiffs’ ERISA-based challenges to the 2013 reorganization and compensation

decisions erroneously assume ERISA applies. As the Court previously recognized, it does not.

ERISA’s fiduciary standards apply to fiduciary acts—not to all corporate decisions. The Court’s

prior ruling on this issue is now law of the case and should not be overturned. Each of these

claims therefore fails as a matter of law and must be dismissed. 1

        The SAC additionally fails to state a viable claim against Defendants Eilermann and Arri

in Counts II, IV, V, VIII, IX, XII, XIV, and XV because the allegations do not plausibly suggest

these individuals were acting in a fiduciary capacity when taking the actions that are the subject

of the fiduciary-based claims concerning the 2013 reorganization, payment of compensation, and

2017 transaction—a fact the Court also previously recognized. 9/26/19 Order at 7-8 (“[T]he

plaintiffs have failed to adequately plead the fiduciary status of Eilermann and Arri with respect

to . . . th[e] two transactions.”). Fiduciary status is a prerequisite to these claims, and they must

be dismissed as well.

        Finally, Plaintiffs’ “knowing participation” claims concerning the 2013 reorganization

and payment of compensation (Counts VI and X) are deficient. Both claims fail to allege any

defendant facilitated a fiduciary breach and thus fail to state a claim as well.

        For those reasons, and the reasons explained more fully below, the Court should grant the


1
 Count XVII, alleging a breach of the duty to monitor based, in part, on the 2013 reorganization and payment of
compensation, should be dismissed to the extent it is premised on these claims.

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McBride Defendants’ motion and dismiss, in part, the same claims it previously deemed

deficient. What remains, once again, are Plaintiffs’ 2017 transaction-related fiduciary breach

and prohibited transaction claims against MS Capital (Counts XII, XIV, and XV); the “knowing

participation” claim stemming from the 2017 transaction against MS Capital, Eilermann, and

Arri (Count XVI); and the duty to monitor claim against MS Capital, Eilermann, and Arri (Count

XVII) to the extent it is premised on Plaintiffs’ allegations concerning the 2017 transaction. 2

                                      II.      STANDARD OF REVIEW

           To survive a motion to dismiss, Plaintiffs must plead “a claim to relief that is plausible on its

face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility when

the plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

“Threadbare recitals of the elements of a cause of action, supported by mere conclusory statements,

do not suffice.” Id. As demonstrated below, and consistent with this Court’s prior decision,

multiple claims in the SAC should be dismissed because Plaintiffs fail to allege any fiduciary

action to sustain their ERISA-based claims.

                                               III.     ARGUMENT

A.         Plaintiffs Challenge Corporate Acts Not Governed By ERISA.

           The SAC reasserts Plaintiffs’ claims against McBride regarding the 2013 reorganization

and the payment of compensation. See 9/26/19 Order (dismissing all the named McBride

Defendants from Plaintiffs’ 2013 reorganization-based claims). To maintain these claims, of

course, ERISA must apply. As this Court already decided, it does not and Plaintiffs’ claims fail

as a matter of law.



2
    This motion does not address claims made against GreatBanc exclusively (Counts I, III, VII, XI, XIII).

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        1.      ERISA’s Fiduciary Standards Do Not Apply To The 2013 Reorganization Claims
                (Counts II, IV, V, VI).

        The Court’s prior ruling—that “[c]hanging the nature of a Plan’s assets through business

reorganization” such as the 2013 reorganization “is a modification to an employee benefit plan

and not a fiduciary action under ERISA” - presents an insurmountable hurdle for Plaintiffs. See

9/26/19 Order at 9 (citing Sys. Council EM-3 v. AT&T Corp., 159 F.3d 1376, 1378-80 (D.C. Cir.

1998)) (“[A] corporation does not function as an ERISA fiduciary when it reorganizes into

several, separate businesses and allocates its’ employee-benefit plan assets among the new

entities.”). Plaintiffs’ additional allegations do not warrant revisiting this Court’s prior legal

determination, which is now the law of the case. See Happel v. Wal-Mart Stores, Inc., 286 F.

Supp. 2d 943, 946 (N.D. Ill. 2003) (“Under the law-of-the-case doctrine, any issue that is

expressly or impliedly decided is binding in subsequent proceedings before the deciding court or

a lower court.”); see also United States v. Thomas, 11 F.3d 732, 736 (7th Cir. 1993). To reverse

the law of the case, Plaintiffs would have to offer some compelling justification. See Tice v. Am.

Airlines, Inc., 373 F.3d 851, 854 (7th Cir. 2004) (noting departure from the law of the case

requires “special circumstance” such as “an intervening change in law”).

        They have not and cannot do so. The Court’s prior ruling was undoubtedly correct, as it

was premised on the fundamental ERISA precept that corporate acts are not fiduciary acts,

ERISA does not engulf all of McBride’s corporate decisions. No case stands for such a

proposition, as this Court itself has recognized. See 9/26/19 Order at 15 (“Even the court in the

first case of the plaintiffs’ string-cite of non-binding authorities reiterates this rule.”). See also

Armstrong v. Amsted Indus., Inc., No. 01-c-2963, 2004 WL 1745774, at *4 (N.D. Ill. July 30,

2004) (“[O]fficers of the plan’s sponsoring employer[] assume fiduciary status only when and to

the extent they act as plan administrators, not when they conduct business unregulated by

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ERISA.”). Indeed, a contrary holding would ignore the well-established distinction between

“fiduciary” and “settlor” decisions (the “two hat” doctrine). See Pegram v. Herdrich, 530 U.S.

211, 225 (2000) (“[T]he trustee at common law characteristically wears only his fiduciary hat

when he takes action to affect a beneficiary, whereas the trustee under ERISA may wear

different hats.”). Because the corporate restructuring here was not a fiduciary act, Plaintiffs

cannot maintain an ERISA-based claim against the McBride Defendants by merely alleging

additional factual details regarding how the reorganization occurred. 3

        Plaintiffs’ passing reference to McBride’s purported business motives, SAC ¶ 129

(alleging 2013 reorganization provided tax benefits to the company and its directors), is

immaterial. ESOP fiduciaries are permitted to have financial interests when undertaking

corporate actions, even if those are “adverse to beneficiaries.” Pegram, 530 U.S. at 225. Thus,

Plaintiffs’ claims in Count II, IV, V, and VI fail as a matter of law and should be dismissed.

        2.       McBride’s Compensation Decisions Do Not Support An ERISA Claim (Counts
                 VIII, IX, X).

        Plaintiffs’ challenges to McBride’s compensation decisions stretch ERISA’s fiduciary

standards well beyond their scope. That McBride paid its officers annually is unsurprising and

irrelevant—ERISA’s fiduciary duties do not supplant business judgment. Armstrong, 2004 WL

1745774, at *4. Compensation (including how it is structured) is a fundamental business

decision. See Kerstein v. Plast-O-Matic Valves, Inc., No. 07-cv-4156, 2008 WL 2942135, at *6

(D.N.J. July 30, 2008) (“[D]ecisions such as approving loans, setting director pay . . . are

business decisions that do not invoke fiduciary status under ERISA.”); Eckelkamp v. Beste, 201

F. Supp. 2d 1012, 1023 (E.D. Mo. 2002), aff’d, 315 F.3d 863 (8th Cir. 2002) (“Setting


3
 As this Court previously acknowledged, that the reorganization resulted in an amendment to the Plan is immaterial.
Employers such as McBride “do not act as fiduciaries” when they modify ERISA plans. 9/26/19 Order at 9 (citing
Lockheed Corp. v. Spink, 517 U.S. 882, 890 (1996)).

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compensation levels is a business decision or judgment made in connection with the on-going

operation of a business. An employer’s discretion in determining salaries is a business judgment

which does not involve the administration of an ERISA plan or the investment of an ERISA

plan’s assets. Such a decision may ultimately affect a plan indirectly but it does not implicate

fiduciary concerns[.]”).

         While Plaintiffs complain compensation “resulted in a lower value” of the ESOP, SAC ¶

173, Plaintiffs’ allegations are wholly conclusory. The SAC provides no basis, whatsoever, to

conclude that the payments were “excessive.” In any event, caselaw acknowledges that

“[v]irtually all of an employer’s significant business decisions affect the value of its stock.”

Martin v. Feilen, 965 F.2d 660, 666 (8th Cir. 1992). “ERISA’s fiduciary duties under § 1104

attach only to transactions that involve investing the ESOP’s assets or administering the [P]lan.”

Id. The wisdom of this rule is clear, because “[a] broader rule would make ESOP fiduciaries

virtual guarantors of the financial success of the plan.” Id.; see also Middleton v. Stephenson,

No. 2:11-cv-313, 2012 WL 2224451, at *2-3 (D. Utah June 14, 2012), aff’d, 749 F.3d 1197 (10th

Cir. 2014) (dismissing ERISA breach of fiduciary claim based on allegations that defendant

caused ESOP-owned company to purchase another company owned by defendant and

improperly transferred stock, among other things, concluding that the “transaction is not

governed by ERISA”); Housman v. Albright, 857 N.E.2d 724, 728 (Ill. Ct. App. 2006)

(concluding that ERISA was not implicated by allegations that defendant “engaged in a scheme

of systematic corporate looting and self-dealing by using Waterfront’s assets to purchase items

for himself and his friends”). Because Counts VIII, IX, and X challenge corporate decisions,

they should be dismissed. 4


4
  The McBride Defendants understand GreatBanc likewise intends to move to dismiss Plaintiffs’ 2013
reorganization and compensation claims. If this Court dismisses those claims from the case, then Plaintiffs’ duty to

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B.       Plaintiffs Also Fail To Allege Fiduciary Status Of The Individual Defendants In The
         Reorganization, Compensation, and Transaction Claims (Counts II, IV, V, VIII, IX,
         XII, XIV, XV).


         The SAC alleges that Eilermann and Arri caused the Plan to engage in a prohibited

transaction, breached their fiduciary duties, and are liable as co-fiduciaries in connection with the

2013 reorganization (Counts II, IV, and V). Plaintiffs further allege that Eilermann and Arri

breached their fiduciary duties and are liable as co-fiduciaries for the so-called “loss of value

from 2013 to 2017” (Counts VIII and IX). Finally, Plaintiffs aver that Eilermann and Arri

caused the Plan to engage in a prohibited transaction, breached their fiduciary duties, and are

liable as co-fiduciaries in connection with the 2017 transaction (Counts XII, XIV, and XV).

         To sustain these claims, Plaintiffs must plausibly allege—in addition to alleging ERISA

applies at all—that Eilermann and Arri were acting as fiduciaries with respect to each of these

actions. See 29 U.S.C. § 1106(a)(1) (“A fiduciary with respect to a plan shall not . . . .”)

(emphasis added); id. § 1106(b) (same); id. § 1109(a) (“Any person who is a fiduciary with

respect to a plan who breaches any of the responsibilities, obligations, or duties imposed upon

fiduciaries by this subchapter shall be personally liable . . . .”) (emphasis added); id. § 1105(a)

(“[A] fiduciary with respect to a plan shall be liable . . . .”) (emphasis added). 5



monitor claim (Count XVII) should be dismissed to the extent it relates to the 2013 reorganization and payment of
compensation.
5
  ERISA only recognizes two types of fiduciaries: (1) named fiduciaries, who are so designated in the written
instrument governing the plan, see id. § 1102(a)(2), and (2) functional fiduciaries, who become fiduciaries by virtue
of the actions they take or the authority they assume on behalf of the plan, see id. § 1002(21). Neither Eilermann
nor Arri is a “named fiduciary.” See 2017 Plan Doc. (Dkt. No. 49-4) §§ 2.8, 17.1. The statute makes clear that,
unless an individual is a named fiduciary, a person is a fiduciary only “to the extent” that he or she “exercises any
discretionary authority or discretionary control respecting management of such plan” or “has any discretionary
authority or discretionary responsibility in the administration of such plan.” 29 U.S.C. § 1002(21). The “to the
extent” language is critical, for it indicates that a person can be a fiduciary for one purpose, without being one for all
purposes. See Pegram, 530 U.S. at 226 (holding that, for every claim of breach of ERISA fiduciary duty, “the
threshold question is . . . whether [the defendant] was acting as a fiduciary (that is, was performing a fiduciary
function) when taking the action subject to complaint”) (emphasis added).

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       The SAC does not plausibly allege this essential element. In reality, the SAC is no

different from Plaintiffs’ amended complaint, both in terms of its allegations and its failures.

Plaintiffs essentially aver that Eilermann and Arri were functional fiduciaries because they

served as corporate officers, negotiated or facilitated transactions, executed documents, and were

authorized to appoint, monitor, and terminate Plan fiduciaries. See SAC ¶¶ 355, 451, 509. This

Court already rejected these allegations as insufficient to blanket Eilermann and Arri with

fiduciary status with respect to the two transactions and payment of compensation. See 9/26/19

Order at 7 (“These allegations alone do not support a reasonable inference that Eilermann and

Arri were acting as ERISA fiduciaries. They may well have worn two hats at different points,

acting as corporate officers and as fiduciaries to the Plan. But nothing in the complaint supports

a reasonable inference that they were wearing their Plan fiduciary hats, as opposed to their

corporate officer hats, when planning and executing [the transactions].”).

       The only “new” allegations Plaintiffs add are more of the same. First, as discussed

extensively above, Eilermann and Arri’s alleged compensation-related decisions, SAC ¶¶ 451(q),

509(u), are irrelevant. “[O]fficers of the plan’s sponsoring employer[] assume fiduciary status

only when and to the extent they act as plan administrators, not when they conduct business

unregulated by ERISA.” Armstrong, 2004 WL 1745774, at *4. And this allegation does not

plausibly suggest that they were acting in a fiduciary, as opposed to corporate, capacity.

Payment of compensation is a quintessential business decision. ERISA does not govern “all of

[McBride’s] business decisions.” See 9/26/19 Order at 15.

       Second, it is irrelevant that Eilermann and Arri allegedly “provided information” to

GreatBanc in its role as a corporate shareholder and its financial advisor in connection with the

2013 reorganization. See SAC ¶¶ 355(o), 451(p), 509(t). Providing information on behalf of a



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company does not constitute a fiduciary function, as it does not involve discretionary control

over plan assets or administration, as required by ERISA. See 29 U.S.C. §1002(21). 6

         Plaintiffs’ allegations against the individual defendants with respect to the two

transactions and compensation claims should be dismissed. See 9/26/19 Order at 7-8 (“Plaintiffs

have failed to adequately plead the fiduciary status of Eilermann and Arri with respect to . . .

th[e] two transactions.”).

C.       Plaintiffs’ Corporate-Decision-Based Challenges Fail For Additional Reasons.

         Plaintiffs’ fiduciary breach claims arising out of the 2013 reorganization and payment of

compensation (Counts IV and VIII) additionally fail to satisfy minimum pleading standards. As

an initial matter, the allegations in the SAC demonstrate the value of the assets held by the Plan

increased after the 2013 reorganization. Indeed, whereas the value of the Plan’s assets was

$10.7 million at a per share price of $121.80 in 2012, SAC ¶¶ 100, 108, that value grew to $14.8

million and $168 per share by 2014. SAC ¶¶ 102, 110. Nothing in the SAC plausibly suggests

the ESOP lost value as a result of the corporate reorganization. See Brandt v. Grounds, 687 F.2d

895 (7th Cir. 1982) (plaintiffs must plausibly allege a connection between the alleged

wrongdoing and a loss to the plan).

         Plaintiffs’ compensation-related claims are particularly lacking. The SAC simply lumps

payments made to Eilermann, Arri, and multiple non-parties together and alleges that the

resulting sum is “excessive.” Plaintiffs provide no basis for this conclusion. Such bald

allegations cannot possibly suffice. Iqbal, 556 U.S. at 678.


6
  GreatBanc’s alleged comment that Arri was a fiduciary “when [GreatBanc] delivered the annual valuation report,”
SAC ¶¶ 355(h), 509(h), is far too flimsy to support an inference that Arri was acting in a fiduciary capacity when
taking the alleged actions at issue. GreatBanc cannot transform Arri into a fiduciary by providing him a document.
Regardless, even if it could, Arri would be a fiduciary only with respect to his receipt of the annual valuation, and
none of Plaintiffs’ claims challenge this act. See 9/26/19 Order at 7 n.2 (rejecting Plaintiffs’ reliance on allegation
that Arri “testified that he was acting as the ‘Plan Administrator’ when he executed a Plan amendment” and noting
“none of the plaintiffs’ claims” challenge the amendment).

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D.      Plaintiffs’ Co-Fiduciary Claims Fail (Counts V, IX, and XV).

        Plaintiffs tack on co-fiduciary liability claims to each of their other claims. ERISA

section 405 provides that “a fiduciary with respect to a plan shall be liable for a breach of

fiduciary responsibility of another fiduciary” if, by his breach, “he has enabled such other

fiduciary to commit a breach” or “he has knowledge of a breach by such other fiduciary, [but

fails to] make[] reasonable efforts under the circumstances to remedy the breach.” 29 U.S.C. §§

1105(a)(2), 1105(a)(3). A co-fiduciary claim is necessarily derivative of a fiduciary breach

claim. Therefore, to the extent Plaintiffs have failed to plead any individual or act was fiduciary

in nature, they have also failed to make out a claim for co-fiduciary liability. Neil v. Zell, 677 F.

Supp. 2d 1010, 1023 (N.D. Ill. 2009) as amended (Mar. 11, 2010) (“Plaintiffs cannot hold these

Defendants liable as co-fiduciaries without first showing that they are fiduciaries.”).

E.      Plaintiffs Fail To State Knowing Participation Claims (Counts VI and X).

        In Count VI, Plaintiffs aver that MS Capital, Eilermann, and Arri knowingly participated

in the supposed prohibited transaction and fiduciary breaches associated with the 2013

reorganization. SAC ¶ 430. In Count X, Plaintiffs contend Eilermann and Arri knowingly

participated in fiduciary breaches in connection with the payment of compensation. SAC ¶ 491. 7

To proceed with these claims, Plaintiffs must adequately allege “participation” in a fiduciary

breach. 9/26/19 Order at 16 (“‘Participation’ means assisting or facilitating the fiduciary’s

breach.”); Daniels v. Bursey, 313 F. Supp. 2d 790, 808 (explaining that a knowing participation

claim against a nonfiduciary “essentially asserts that the nonfiduciary aided and abetted the

fiduciary’s breach”). This is where the SAC comes up short.



7
  Plaintiffs confusingly refer to the “prohibited transactions described in Count VII, Count VIII, and Count IX” in
connection with their compensation-based “knowing participation claim. SAC ¶ 487. None of those counts asserts
a prohibited transaction claim.


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       The SAC does not adequately allege any McBride Defendant facilitated a fiduciary

breach. As an initial matter, Plaintiffs claims are premised on nonfiduciary acts—changing the

nature of the Plan’s assets through a business reorganization and paying its officers and directors.

See Section III.A. Setting that aside, Plaintiffs allege—at most—that the individuals benefitted

from the breach, not that they participated. SAC ¶ 429 (“MS Capital, Eilermann, and Arri have

profited . . . .”), ¶ 490 (“Eilermann and Arri have profited…”). This Court has already declared

these allegations to be insufficient. 9/26/19 Order at 18 (noting that the “assertion that

[Defendants] benefitted . . . is not enough.”). Thus, Counts VI and X should be dismissed.

                                     IV.     CONCLUSION

       For the foregoing reasons, the McBride Defendants respectfully request that the Court

dismiss in part the SAC with prejudice.



Dated: February 3, 2020                           Respectfully submitted,

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